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                                                                                        United States Courts
                                                                                      Southern District of Texas
                            IN THE UNITED STATES DISTRICT COURT                               Fl LED
                    SOUTHERN DISTRICT OF TEXAS HOUSTON DMSION
                                                                                          JAN 12 2024

                                                                                   Nathan Ochsner, Clerk of Court
_Lewis:Siren_ agent for SIREN LEWIS,                         )
            Plaintiff                                        )
                                                             )       CASE NO.      4:23CV4568
                                                             )
                     -vs-                                    )    MAGISTRATE Christina A Bryan
                                                             )
CROSSCOUNTRYMORTGAGE                                         )
DOVENMUEHLE MORTGAGE                                         )
Ronald Leonhardt, Jr.                                        )
CT_CORPORATION SYSTEM & all_attendees,
             Defendant(s)

                SIREN LEWIS'S MOTION TO FILE ELECTRONICALLY


                  I am expressing a need to file electronically due to the following.
   1. Time sensitive information..
   2. Motions not limited to other time sensitive information which will need to be processed before
      the appointed due dates governed by our magistrate.
   3. My postal system here in Ft Bend has proven to be unreliable.
   4. This feature would be easiest to communicate for all parties involved.
   5. Prior communications with this court have delayed my progress due to my being provided
      incorrect or incomplete address by Ohio Northern District Court which has impacted delays in
      progress with Southern District Court Houston Texas Division.
   6. Ohio Court Northern District did not update my address and I have not received any
      communications on progress on this case until Jan 5th , 2024, when I called Ohio Court for status
      update.
   7. Driving distance is not conducive to a new work schedule, due date set by magistrate, and hours
      of operation for this court to turn in filings prior to the closing hours of The Southern District
      Court Houston Division.


                                             Respectfully submitted on this 12th day of January 2024.

                                                                                     SIREN LEWIS
                                     /s/Lewis:Siren
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                        Agent for SIREN LEWIS
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                        Missouri City, TX 77459
                        Counsel f@:r SIREN LEWIS in t/o Lewis: Siren
